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 5                                   UNITED STATES DISTRICT COURT
 6                                 EASTERN DISTRICT OF CALIFORNIA
 7
     ANITA GONZALEZ,                                       CASE NO. CV F 13-0086 LJO JLT
 8
 9                          Plaintiff,                     ORDER TO ADDRESS WHETHER AN
                                                           AMENDED COMPLAINT WILL BE FILED
10          vs.                                            AND ASSIGNMENT TO A U.S.
                                                           MAGISTRATE JUDGE FOR ALL
11                                                         PURPOSES
12   CITY OF McFARLAND,                                    (Docs. 8,9.)
     et al.,
13
                       Defendants.
14   ___________________________/
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16          Judges in the Eastern District of California carry the heaviest caseload in the nation, and this
     Court is unable to devote inordinate time and resources to individual cases and matters. This Court
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     must avoid devotion of resources to unfruitful matters, such as motions which become moot, and must
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     take measures to maximize limited judicial resources and staff.
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            As such, this Court ORDERS plaintiff’s counsel, no later than March 18, 2013, to file papers to
20   indicate whether plaintiff will file either: (1) an amended complaint; or (2) an opposition to
21   defendants' pending motions to dismiss and to strike. This Court has found that amended complaints
22   often resolve matters raised by motions to dismiss and to strike. This order is not an indication of this

23   Court's view of the pending matter or how it will rule.
            In addition, this Court ORDERS all parties’ counsel to consider, and if necessary, to
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     reconsider, consent to a U.S. Magistrate Judge to conduct all further proceedings, including trial. The
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     Magistrate Judges’ availability is far more realistic and accommodating to parties than that of a U.S.
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     District Lawrence J. O’Neill who must prioritize criminal and older civil cases over more recently
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     filed civil cases. This Court ORDERS the parties’ counsel, no later than March 18, 2013, to file and
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     serve papers to indicate whether each party consents to the conduct of all further proceedings by U.S.
 2
     Magistrate Judge. U.S. Magistrate consent forms are available on this Court’s website.
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                              Civil trials set before Judge O'Neill trail until he becomes available and are subject to
 4   suspension mid-trial to accommodate criminal matters. Civil trials are no longer reset to a later date
 5   if Judge O'Neill is unavailable on the original date set for trial. Moreover, this Court’s Fresno
 6   Division randomly and without advance notice reassigns civil actions to U.S. District Judges
 7   throughout the nation to serve as visiting judges. In the absence of Magistrate Judge consent, this

 8   action is subject to reassignment to a U.S. District Judge from outside the Eastern District of
     California.
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                              The parties and counsel are encouraged to contact the offices of United States Senators Diane
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     Feinstein and Barbara Boxer to address this Court’s inability to accommodate the parties and this
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     action. For further information regarding handling of this action, the parties may contact staff
12   attorney Gary Green at (559) 499-5683 or email him at ggreen@caed.uscourts.gov.
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15   IT IS SO ORDERED.

16                         Dated:     March 7, 2013                                /s/ Lawrence J. O’Neill
                                                                           UNITED STATES DISTRICT JUDGE
17   DEAC_Signature-END:




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